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Case 2'04-cv-02333-BBD-dkv Document 34 Fl|ed 08/29/05 Page 1 of 2 Page|D 3
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IN THE UNITED STATES DISTRICT 001qu5 AUG 29 M* "‘ 1'9
FoR THE WESTERN DISTRICT oF TENNESSEE

WESTERN DIVIsIoN us paramount
ALMA ROBINSON,

Plaintiff, Case No.: 04-2333 D V

V.

FIRST HORIZON EQUITY LEND]NG,

Defendant.

ORDER STRIKING PRETRI.AL AND TRIAL DA'I`ES

lt appears that Defendant has filed a motion for summary judgment to Which Plaintiff has

failed to respond. Plaintiff has been ordered to file a response on or before Septernber 7, 2005. The

court Will strike the September 12, 2005 pretrial conference and the September 26, 2005 tn`al date

pending disposition of the summary judgment motion.

IT IS HEREBY ORDERED that the trial and pretrial conference dates are hereby stricken

IT IS SO ORDERED this g 3 day of (;;,¢ ng ,2005.

 
     

B RNICE BOUIE DONALD
TED STATES DISTRICT JUDGE

   

‘ we document entered on the dockets =
.»rn Hu|e 58 and .e(a,' . ..\J.`* on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CV-02333 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

